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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
    BENEFYTT TECHNOLOGIES, INC., et al.,1                            )   Case No. 23-90566 (CML)
                                                                     )
                                       Debtors.                      )   (Joint Administration Requested)
                                                                     )   Re: Docket No. _____

                     ORDER (I) AUTHORIZING THE DEBTORS TO
               (A) CONTINUE INSURANCE COVERAGE ENTERED INTO
          PREPETITION AND SATISFY PREPETITION OBLIGATIONS RELATED
        THERETO, (B) RENEW, SUPPLEMENT, AMEND, EXTEND, OR PURCHASE
        INSURANCE POLICIES, (C) CONTINUE TO PAY BROKERAGE FEES, AND
      (D) MAINTAIN THE SURETY BONDS, AND (II) GRANTING RELATED RELIEF

             Upon the emergency motion (the “Motion”)2 of the above-captioned debtors and debtors

in possession (collectively, the “Debtors”) for entry of an order (this “Order”) (a) authorizing the

Debtors to (i) continue insurance coverage entered into prepetition and satisfy prepetition

obligations related thereto in the ordinary course of business, (ii) renew, supplement, amend,

extend, or purchase insurance coverage in the ordinary course of business on a postpetition basis,

(iii) satisfy payment of prepetition obligations on account of and continue to pay Brokerage Fees,

and (iv) maintain the Surety Bonds on an uninterrupted basis; and (b) granting related relief, all as

more fully set forth in the Motion; and upon the First Day Declaration; and this Court having



1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Benefytt Technologies, Inc. (2634); American Service Insurance Agency LLC (9115); Benefytt
      Reinsurance Solutions, LLC (4601); BimSym-HPIH, LLC (4626); Dawn Acquisition Company, LLC (0909);
      Daylight Beta Intermediate Corp. (7248); Daylight Beta Intermediate II Corp. (8842); Daylight Beta Parent Corp.
      (6788); Health Insurance Innovations Holdings, Inc. (1994); Health Plan Intermediaries Holdings, LLC (0972);
      Healthinsurance.com, LLC (9525); HealthPocket, Inc. (3710); Insurance Center for Excellence, LLC (4618);
      RxHelpline, LLC (9940); Sunrise Health Plans, LLC (3872); TogetherHealth Insurance, LLC (9503);
      TogetherHealth PAP, LLC (8439); and Total Insurance Brokers, LLC (7975). The location of the Debtors’
      service address is: 3450 Buschwood Park Drive, Suite 200, Tampa, Florida 33618.
2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this Court having found that this is

a core proceeding pursuant to 28 U.S.C. § 157(b); and this Court having found that it may enter a

final order consistent with Article III of the United States Constitution; and this Court having found

that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and this Court having found that the relief requested in the Motion is in the best interests

of the Debtors’ estates, their creditors, and other parties in interest; and this Court having found

that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were

appropriate under the circumstances and no other notice need be provided; and this Court having

reviewed the Motion and having heard the statements in support of the relief requested therein at

a hearing before this Court, if any; and this Court having determined that the legal and factual

bases set forth in the Motion establish just cause for the relief granted herein; and upon all of the

proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

       1.      The Debtors are authorized, but not directed, to continue the Insurance Policies

including, without limitation, the Insurance Policies identified on Exhibit 1 attached hereto and

any related agreements, and to pay any prepetition or postpetition obligations related to the

Insurance Policies, including the Insurance Premiums, and any amounts owed to the Insurance

Carriers and the Insurance Broker in the amounts and categories described in the Motion. For the

avoidance of doubt, Insurance Policies include all tail and run-off policies.

       2.      The Debtors are authorized, but not directed, in consultation with the Consenting

of Term Lenders, Consenting Revolving Lenders, and DIP Lender, to renew, amend, supplement,

and/or extend the Insurance Policies, and to purchase new insurance policies in the ordinary course

of business, and to execute other agreements in connection therewith. The Debtors shall provide




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five days prior written notice (email sufficient) to counsel to (i) the U.S. Trustee, (ii) any statutory

committee appointed in these chapter 11 cases, (iii) the Consenting Term Lenders,

(iv) the Consenting Revolving Lenders, and the (v) DIP Lender before making any material

modifications to their Insurance Policies existing as of the Petition Date.

       3.      The Debtors are authorized, but not directed, to pay the prepetition Brokerage Fees

in the amounts described in the Motion and to continue to pay Brokerage Fees on a postpetition

basis in the ordinary course.

       4.      The Debtors are authorized, but not directed, to maintain the Surety Bonds without

interruption, including, without limitation, payment of the premium and fees thereof and execute

any other agreements related to the Surety Bonds, and to pay any prepetition or postpetition

obligations related to the Surety Bonds, in each case in the ordinary course of business and

consistent with prepetition practices.

       5.      The Debtors are authorized, in consultation with the Consenting Term Lenders, DIP

Lenders, Consenting Revolving Lenders, to renew, supplement, amend, and/or extend the Surety

Bonds, including, without limitation, the Surety Bonds identified on Exhibit 2 attached hereto and

maintenance of cash collateral (if any), or to purchase new Surety Bonds, and to execute other

agreements, such as Standby Letters of Credit, in connection with the Surety Bonds in each case

in the ordinary course of business and consistent with prepetition practices. The Debtors shall

provide five days prior written notice (email sufficient) to counsel to the U.S. Trustee, any statutory

committee appointed in these chapter 11 cases, the Consenting Term Lenders, the Consenting

Revolving Lenders, and the DIP Lenders before making any material modifications to their Surety

Bonds existing as of the Petition Date.




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       6.        The Debtors are not authorized by this Order to take any action with respect to a

Surety Bond that would have the effect of transforming a prepetition undersecured or unsecured

Surety Bond obligation into a postpetition or secured obligation. Such relief may be sought by

separate motion, which may be heard on an expedited basis.

       7.        Nothing in this Order authorizes the Debtors to accelerate any payments not

otherwise due.

       8.        Notwithstanding anything to the contrary in this Order, nothing herein shall be

deemed to authorize the payment by the Debtors of the prepetition Deductibles and SIRs. The

Debtors’ right to seek relief from this prohibition upon further notice and hearing, including on an

emergency basis, are reserved.

       9.        The Debtors shall maintain a matrix/schedule of payments made pursuant to this

Order, including the following information: (i) the name of the payee; (ii) the nature, date and

amount of the payment; (iii) the category or type of payment; and (iv) the Debtor or Debtors that

made the payment. The Debtors shall provide a copy of such matrix/schedule to counsel to the

(i) Consenting Term Lenders, (ii) the Consenting Revolving Lenders, (iii) the DIP Lender,

(iv) the U.S. Trustee, and (v) counsel for any statutory committee appointed in these chapter 11

cases on a monthly basis.

       10.       The Debtors will notify the U.S. Trustee and any statutory committee appointed in

these chapter 11 cases if the Debtors renew, amend, supplement, extend, terminate, replace,

increase, or decrease existing insurance coverage or change insurance carriers, enter into any new

agreements in connection with the Insurance Policies, the Surety Bonds and related payment

obligations, or obtain additional insurance coverage.




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       11.      Notwithstanding the relief granted herein and any actions taken pursuant to such

relief, nothing in this Order shall be deemed: (a) an admission as to the amount of, basis for, or

validity of any claim against a Debtor entity under the Bankruptcy Code or other applicable

nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s right to dispute

any claim on any grounds; (c) a promise or requirement to pay any claim; (d) an implication or

admission that any particular claim is of a type specified or defined in the Motion or any order

granting the relief requested by the Motion or a finding that any particular claim is an

administrative expense claim or other priority claim; (e) a request or authorization to assume,

adopt, or reject any agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code;

(f) an admission as to the validity, priority, enforceability, or perfection of any lien on, security

interest in, or other encumbrance on property of the Debtors’ estates; (g) a waiver or limitation of

the Debtors’, or any other party in interest’s, rights under the Bankruptcy Code or any other

applicable law; or (h) a concession by the Debtors that any liens (contractual, common law,

statutory, or otherwise) that may be satisfied pursuant to the relief requested in the Motion are

valid, and the rights of all parties in interest are expressly reserved to contest the extent, validity,

or perfection or seek avoidance of all such liens.

       12.      Notwithstanding anything to the contrary in this Order, any payment made or to be

made hereunder, and any authorization herein, shall be subject to the requirements (if any) imposed

on the Debtors under any order(s) of this Court approving the postpetition secured debtor in

possession financing facility and the use of cash collateral (any such order, a “Financing Order”),

including any documentation with respect to such financing and any budget in connection with

such Financing Order. In the event of any conflict between the terms of this Order and a Financing

Order, the terms of the applicable Financing Order shall control (solely to the extent of such




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conflict).

        13.    The banks and financial institutions on which checks were drawn or electronic

funds transfer requests made in payment of the prepetition obligations approved herein are

authorized to receive, process, honor, and pay all such checks and electronic payment requests

when presented for payment, and all such banks and financial institutions are authorized to rely on

the Debtors’ designation of any particular check or electronic payment request as approved by

this Order.

        14.    The Debtors are authorized to issue postpetition checks, or to effect postpetition

fund transfer requests, in replacement of any checks or fund transfer requests that are dishonored

as a consequence of these Chapter 11 Cases with respect to prepetition amounts owed in

connection with the relief granted herein.

        15.    Notwithstanding the relief granted herein or any actions taken hereunder, nothing

contained in this Order shall create any rights in favor of, or enhance the status of any claim held

by, any person to whom any obligations under the Insurance Policies or Surety Bonds are owed.

        16.    The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

        17.    Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a), and the Bankruptcy Local Rules

are satisfied by such notice.

        18.    Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

        19.    The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order.




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       20.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

 Dated: ___________, 2023

                                                     UNITED STATES BANKRUPTCY JUDGE




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                                                             Exhibit 1

                                                       Insurance Policies1

                                                                                                                          Approx.
       Type of                                                                                                            Annual
   Policy Coverage               Insurance Carrier(s)            Policy Number                Policy Term                Premium2

Directors’ and Officers’                                                                                                 $727,313
                                    Chubb Group of
 Liability (“D&O”) -                                                8261-0535              8/21/22 to 2/21/24
                                 Insurance Companies
        Primary

                                   Intact Insurance                                                                      $525,000
  D&O - First Excess                                            FIN-000579-0002              Same as above
                                  Specialty Solutions

                                  Ironshore Insurance                                                                    $441,000
D&O - Second Excess                                            DO6AACLJ51001                 Same as above
                                     Services, LLC

                                AXA XL - Professional                                                                    $375,000
 D&O - Third Excess                                              ELU184914-22                Same as above
                                     Insurance

           Crime                         Berkley              BCCR-45004900-20             8/21/22 to 8/21/23             $31,595

Employment Practices
 Liability Insurance                      CNA                       652364584                Same as above                $50,660
 (“EPLI”) - Primary

    EPLI - Excess                     Nationwide                  XMS2209302                 Same as above                $45,000

       Fiduciary                        Travelers                   107492455                Same as above                $10,210

    Cyber Primary                       Beazley                 B0180FN2203807               Same as above               $166,250

                                                                C-4MA7-201211-
 Cyber - First Excess                   Coalition                                            Same as above               $120,115
                                                                 CEPMM-2022

Cyber - Second Excess                     Starr                     10006350                 Same as above                $90,086

 Errors and Omissions
                                  Ironshore Insurance
  Liability (“E&O”) -                                            PEO914879-01              2/21/23 to 2/21/24            $275,000
                                     Services, LLC
        Primary

  E&O - First Excess             Markel Corp. Group            MKLV7PL0005728                Same as above               $206,250



       1     The Debtors request authority to honor and renew existing Insurance Policies, as applicable, regardless of whether
             the Debtors inadvertently failed to include a particular Insurance Policy herein.
       2     The annualized Insurance Premium does not include any additional taxes.
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                                                                                          Approx.
       Type of                                                                            Annual
   Policy Coverage        Insurance Carrier(s)      Policy Number      Policy Term       Premium2

                                 Sompo
E&O - Second Excess                                APX30001756402     Same as above      $192,500
                              Holdings, Inc.

                            Fairfax Financial       HE-0303-7864-
 E&O - Third Excess                                                   Same as above      $180,400
                             (USA) Group               022123

                           Scottsdale Insurance   XLS0126039-FL-02-
 E&O - Fourth Excess                                                  Same as above      $155,000
                                Company                  00

                           Nautilus Insurance
  E&O - Fifth Excess                              MEX9067135-0223     Same as above      $159,900
                               Company

   General Liability              CNA                7034509339       9/1/22 to 9/1/23   $27,851

       Property                   CNA                7034509339       Same as above      $25,701

         Auto                     CNA                7034509325       Same as above       $7,243

  Umbrella Liability              CNA                7034509311       Same as above      $22,075

 Kidnap, Ransom, and        Great American                              6/8/2022 to
                                                  KR E487597 02 00                       $16,647
      Extortion             Insurance Group                              8/21/2025

                             AmTrust North                             1/26/2023 –
Workers’ Compensation                               TWC4226601                           $132,573
                               America                                  10/4/2023




                                                     2
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                                                                              Exhibit 2

                                                                          Surety Bonds1

                                                                                                                                                            Bond
    Bond Number         Surety Bond Issuer             Principal                 Beneficiary                  Type of Bond           Bond Term2            Amount
                                                     Health Plan
                                                                                                              Third-Party               9/1/22 to
    30BSBIX5711        Hartford Fire Ins. Co.       Intermediaries           Arizona Dept. of Ins.                                                        $660,000
                                                                                                           Administrator Bond            8/31/23
                                                    Holdings, LLC
                                                                          State of Georgia Office of
    30BSBIX6147            Same as above            Same as above             Ins. and Safety Fire            Same as above          Same as above        $100,000
                                                                                 Commissioner
    30BSBIX6149            Same as above            Same as above        State of Illinois Dept. of Ins.      Same as above          Same as above        $450,000
    30BSBIX6148            Same as above            Same as above            Ins. Division of Iowa            Same as above          Same as above         $50,000
    30BSBIX6153            Same as above            Same as above            Maine Bureau of Ins.             Same as above          Same as above         $75,000
    30BSBIX6151            Same as above            Same as above       Maryland Ins. Administration          Same as above          Same as above          $7,000
                                                                              Minnesota Dept. of
    30BSBIX6154            Same as above            Same as above                                             Same as above          Same as above        $250,000
                                                                                   Commerce
                                                                          State of Missouri, Dept. of
    30BSBIX6155            Same as above            Same as above         Ins., Financial Institutions        Same as above          Same as above         $50,000
                                                                        and Professional Registration
                                                                             Financial Institutions
    30BSBIX6156            Same as above            Same as above        Division, Dept. of Business          Same as above          Same as above        $100,000
                                                                        and Industry, State of Nevada
    30BSBIX6158            Same as above            Same as above            Oklahoma Ins. Dept.              Same as above          Same as above         $40,000
    30BSBIX6159            Same as above            Same as above        South Carolina Dept. of Ins.         Same as above          Same as above        $500,000
                                                                              Ins. Commissioner,
    30BSBIX6161            Same as above            Same as above                                             Same as above          Same as above          $5,000
                                                                                  State of Utah
                                                                         Office of the Commissioner
    30BSBIX6162            Same as above            Same as above          of Ins., Agent Licensing           Same as above          Same as above        $331,100
                                                                         Section, State of Wisconsin
    30BSBIX6163            Same as above            Same as above            Wyoming Ins. Dept.               Same as above          Same as above        $100,000

1    The Debtors request authority to honor and renew existing Surety Bonds, as applicable, regardless of whether the Debtors inadvertently failed to include a
     particular Surety Bond herein.
2    For the avoidance of doubt, all Surety Bonds listed herein remain active as of the Petition Date. Each expiration date herein reflects the billing dates for annual
     Surety Bonds or the original expected expiration date for projects related thereto.
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                                                                                                                        Bond
Bond Number   Surety Bond Issuer     Principal           Beneficiary            Type of Bond         Bond Term2        Amount
               Hartford Casualty
30BSBIZ9406                        Same as above   Texas Dept. of Insurance     Same as above       2/1/23 to 2/1/24   $10,000
                    Ins. Co.
  Letter of                                                                                                            Letter of
                                                                              Type of Letter of     Letter of Credit
   Credit      Issuing Carrier       Principal           Beneficiary                                                    Credit
                                                                                  Credit                 Term
  Number                                                                                                               Premium
                                                                              Irrevocable Standby     08/1/2022 to
 70004201        Truist Bank       Benefytt, LLC        Axis Ins. Co.                                                  $189,000
                                                                                     LOC               08/01/2023




                                                          2
